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                          UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF MISSISSIPPI
                                JACKSON DIVISION

                                             )
VICTORIA RHODES, QUINTON                     )                                    PLAINTIFFS
GARDNER, SELINA RIGGS,                       )
DONELL ELLIS, AND KWAN                       )
JOHNSON                                      )   Civil Action No. 3:13-CV-00214-CWR-LRA
                                             )
vs.                                          )
                                             )                                    DEFENDANT
COMPUTER SCIENCES                            )
CORPORATION                                  )


                                  NOTICE OF DEPOSITION

TO:    Plaintiff, Kwan Johnson,
       through his counsel of record,
       Mike Farrell, Esq.
       Mike Farrell, PLLC
       210 E. Capitol Street
       Regions Plaza, Suite 2180
       Jackson, MS 39201


       PLEASE TAKE NOTICE that Defendant, Computer Sciences Corporation, through

undersigned counsel, will take the deposition of KWAN JOHNSON, before a duly authorized

court reporter or other officer authorized to administer oaths on Friday, January 10, 2014 at

8:00 a.m., at the offices of The Kullman Firm, 1640 Lelia Drive, Suite 120, Jackson,

Mississippi, 39216; telephone: (601) 366-2990. Said deposition will be taken in accordance with

and for all purposes allowed under the Federal Rules of Civil Procedure and may be video-taped.

You are cordially invited to attend and participate in accordance with the law.

       Respectfully submitted, this 10th day of December, 2013.




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                                               __/s/Martin J. Regimbal_________________
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                                               Sciences Corporation
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                                               Samuel Zurik, III, Esq. (pro hac vice)
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                                CERTIFICATE OF SERVICE

       I hereby certify I filed a copy of the foregoing with the Clerk via the CM/ECF system,

which will automatically send an electronic copy to:

       Mike Farrell, Esq.
       Mike Farrell, PLLC
       210 E. Capitol Street
       Regions Plaza, Suite 2180
       Jackson, MS 39201
       Telephone: (601) 948-8030
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       E-mail: mike@farrell-law.net

       Counsel for Plaintiffs

       THIS, the 10th day of December, 2013.

                                            /s/Martin J. Regimbal
                                            MARTIN J. REGIMBAL




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